
47 So. 3d 332 (2010)
Samuel WELSH, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-4771.
District Court of Appeal of Florida, Fourth District.
October 6, 2010.
Rehearing Denied December 6, 2010.
Samuel Welsh, Crawfordville, pro se.
No appearance required for appellee.
PER CURIAM.
Affirmed. The imposition of a lien under section 960.293(2)(b), Florida Statutes, is a civil matter, not a matter of criminal sentencing. See Goad v. Fla. Dep't of Corr., 845 So. 2d 880 (Fla.2003). Therefore, appellant is not entitled to seek correction of any deficiencies pursuant to Florida Rule of Criminal Procedure 3.800(a).
WARNER, POLEN and FARMER, JJ., concur.
